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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


Civil Action No. 1:18-cv-01178

JEFFREY GONZALES,

       Plaintiff,

v.

UNIVERSITY OF COLORADO, through its Board, THE REGENTS OF THE UNIVERSITY
OF COLORADO, a body corporate,

      Defendant.
______________________________________________________________________________

                       COMPLAINT AND JURY DEMAND
______________________________________________________________________________

       Plaintiff Dr. Jeffrey Gonzales for his Complaint states:

                                       INTRODUCTION

       1.      This is an employment discrimination suit brought by a former employee of

Defendant University of Colorado who worked as an Assistant Professor at the University of

Colorado’s School of Medicine in the Department of Anesthesiology and was discriminated

against based on his race and national origin and retaliated against and terminated from his

employment in violation of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §

2000e et seq. (“Title VII”).

                                            PARTIES

       2.      Plaintiff Dr. Jeffrey Gonzales is a resident of the State of Colorado.


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       3.      Defendant University of Colorado (“CU”) is a state institution of higher education

established and regulated by Article IX, §§ 12 and 13, Colorado Constitution, and State statutory

law, C.R.S. § 23-20-101, et seq.

                                   JURISDICTION AND VENUE

       4.      This Court has jurisdiction over this action under 28 U.S.C. § 1331 and

specifically under Title VII, as amended, 42 U.S.C. § 2000e et seq.

       5.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b) because

the employment practices alleged to be unlawful were committed in the District of Colorado.

       6.      At all relevant times, Defendant CU was covered by the definition of “employer”

set forth in 42 U.S.C. § 2000e(b) of Title VII.

                                    SPECIFIC ALLEGATIONS

       7.      Defendant CU is engaged in the business of higher education.

       8.      CU operates the School of Medicine on the Anschutz Medical Campus in Aurora,

Colorado.

       9.      Plaintiff is a board certified anesthesiologist.

       10.     Plaintiff is Hispanic and of Mexican descent.

       11.     Plaintiff worked for CU as an Assistant Professor at the School of Medicine’s

Department of Anesthesiology from August 13, 2014 until he was terminated on June 3, 2016.

       12.     During his employment with CU, Plaintiff was the only Hispanic employee in the

Department of Anesthesiology, with the exception of one resident.

       13.     Plaintiff was recruited for the position at CU by the former Chair of the

Department of Anesthesiology, Tom Henthorn, because of Plaintiff’s knowledge, skill set, and


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experience in acute pain management, as well as his experience in developing and producing

quality improvement programs for patients and hospitals, including Northwestern University.

       14.     Plaintiff and his family relocated to Colorado to accept the position with CU.

       15.     Throughout his employment at CU, Plaintiff performed satisfactorily or better, as

evidenced by his clinical, hospital, and educational production, his patient and resident

evaluations, and his annual performance reviews.

       16.      As an Assistant Professor, Plaintiff’s duties included teaching, research, service,

and clinical responsibilities, i.e., serving as a general anesthesiologist on scheduled days,

including covering a variety of surgical cases and an equal number of calls.

       17.     Beyond these duties, Plaintiff sought and was recruited for addition opportunities

to contribute to CU and the community at large. For example:

          a. In October 2014, Plaintiff agreed to serve as an attending physician on the Acute

              Pain Service (“APS”) one to two days per month;

          b. In November 2014, Plaintiff joined a department committee to develop quality

              improvement programs at the request of former Chair Henthorn;

          c. Plaintiff volunteered to assist in the formation of programs for enhanced recovery

              in urology, breast cancer, and colorectal patients;

          d. Plaintiff served as the physician lead on the breast and colorectal groups and as a

              member of the executive committee for the entire hospital program and pancreatic

              program;

          e. In August 2015, Plaintiff was asked to be a part of CU’s National Surgical Quality

              Improvement Program committee;


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           f. Plaintiff has been invited to speak at numerous international and national meetings

               and continuing medical education courses and has given grand rounds at

               universities such as CU, Duke, and Northwestern;

           g. He actively participated in the production of lectures, abstracts, manuscripts, and

               learning tools for CU and national societies;

           h. Plaintiff was invited to meet with U.S. Representative Mike Coffman to discuss

               the opioid epidemic and multimodal analgesia for patients having surgery in

               Colorado and the U.S. in October 2015; and

           i. At the time of Plaintiff’s termination, he was highly involved with the residency

               program, including serving as one of the primary individuals working on revising

               the entirety of the CA-1 resident orientation program, being asked by two first year

               residents to serve as their academic advisor for the remainder of their residencies,

               and mentoring a second year resident on her resident talk and planning to serve as

               her research advisor at her request.

        18.        In early 2015, Plaintiff expressed interest to the former vice chair of clinical

operations in the Department of Anesthesiology in being a contributor in the expansion of a

surgery center in Lone Tree for which Plaintiff already provided services.

        19.        In fact, and at that same time, Plaintiff had been asked if he was interested in

assuming the medical director position at the Lone Tree Surgery Center when the current director

chose to retire.

        20.        In January 2016, CU replaced former Chair Henthorn with Dr. Vesna Jevtovic-

Todorovic.


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       21.     Chair Todorovic met with Plaintiff on February 3, 2016 to conduct Plaintiff’s

annual performance review and discuss his clinical responsibilities and potential for academic

promotion.

       22.     In Plaintiff’s review, Chair Todorovic gave him an “outstanding” rating,

effusively praised Plaintiff’s accomplishments in the areas of clinical work, teaching and

mentoring, research, scholarly activity, service/administration/advocacy, and professionalism

and citizenship, and noted that he “is ready for promotion” to Associate Professor or full

Professor.

       23.     At that meeting, Chair Todorovic also requested that Plaintiff personally be the

lead to help revise the APS and its role for the hospital as she had concerns over whether or not it

was functioning at an optimal level prior to her arrival.

       24.     While attending a professional conference as an invited speaker in Vail, Colorado,

on March 2, 2016, Plaintiff received a call from a CU colleague advising him that he should

speak to Chair Todorovic about serving as the medical director of a new hospital opening in

Broomfield, Colorado.

       25.     Immediately after that call, on March 2, 2016, Plaintiff went to a hotel restaurant

to have lunch with three colleagues who were practicing anesthesiologists.

       26.     During lunch, Plaintiff and his colleagues discussed a number of topics, including

their previous work at Northwestern Memorial Hospital, their children, and pain management

generally.

       27.     The only topics that they discussed that pertained to CU were Plaintiff’s

experience as a lecturer and groups that he has worked with at CU and a complaint from several


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residents of CU’s Department of Anesthesiology that the residents were confused by the

diversity of types, volumes, and concentrations of local anesthetics that different attending

physicians used for nerve blocks.

         28.   On Friday, March 4, Plaintiff received a text message from one of his colleagues

with whom he had lunch in Vail.

         29.   The text message was a screenshot of a text message that the colleague had

received from Dr. Matthew Fiegel, the Director of APS, that said, “one of my attendings heard

Jeff Gonzales talking shit about the APS to you. We’ve had a history of Jeff doing this and we

need to address it.”

         30.   Plaintiff’s colleague replied to Dr. Fiegel immediately and then at least twice in

the following weeks that Plaintiff had not said anything negative about APS, the Department of

Anesthesiology, or CU.

         31.   Later that day, Plaintiff requested that he be taken off of APS as a provider in an

attempt to avoid conflict with Dr. Fiegel and because Plaintiff planned to cover his remaining

scheduled shifts and he knew that obtaining coverage for his future APS shifts would not be an

issue.

         32.   Plaintiff promptly sent an e-mail to Chair Todorovic to let her know that he was

removing himself from APS as an attending provider and asked that she let him know if that

would pose an issue with his employment.

         33.   A short time later, Chair Todorovic scheduled a meeting regarding an “urgent

matter” with Plaintiff for Monday, March 7, 2016.




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          34.   During the March 7 meeting, where Plaintiff, Chair Todorovic, Dr. Fiegel, and

Dr. Nate Weitzel were present, Dr. Fiegel expressed repeatedly that Plaintiff’s departure from

APS would be a terrible thing because of Plaintiff’s positive contributions.

          35.   Plaintiff replied that his decision was based on a personal issue that he would be

happy to disclose only to Chair Todorovic.

          36.   Although Drs. Fiegel and Weitzel and Chair Todorovic claimed that Plaintiff’s

departure had left APS “scrambling” for coverage, all three acknowledged that, as of the March

7 meeting, coverage for Plaintiff’s shifts had already been secured.

          37.   At the conclusion of the meeting, Chair Todorovic requested that Drs. Fiegel and

Weitzel leave so that she could meet alone with Plaintiff.

          38.   During his one-on-one meeting between Chair Todorovic, Plaintiff disclosed the

content of the text message from Dr. Fiegel that Plaintiff’s colleague had forwarded to Plaintiff

and explained that he was resigning from APS to avoid an additional confrontation about the

matter.

          39.   In response, Chair Todorovic became infuriated and accused Plaintiff of being

untrustworthy, of “acting like a little three year old boy,” and asked in a condescending and

demeaning manner what Plaintiff actually did at the hospital and for the Department of

Anesthesiology.

          40.   The next morning, Plaintiff expressed his concerns to staff in CU’s Ombuds

Office, who suggested that he meet with Dr. Barry Rumack in the Office of Professionalism

about Dr. Fiegel’s message and Chair Todorovic’s inappropriate response to Plaintiff’s concerns

about Dr. Fiegel’s message.


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        41.     Subsequently, Chair Todorovic and Dr. Fiegel made numerous disparaging

remarks about Plaintiff “quitting” the APS to a group of Plaintiff’s colleagues at an APS meeting

that Plaintiff attended.

        42.     When Plaintiff attempted to speak with Chair Todorovic again after this meeting

about his concerns around Dr. Fiegel’s message and her response to Plaintiff removing himself

from APS, she treated him in a condescending and dismissive manner, accused him of making

disparaging remarks about the APS and lying when he denied doing so, and asked him again

what he “actually” did at CU.

        43.     When Plaintiff responded by listing his clinical, committee, and service work.

Chair Todorovic said, “well, we will just have to see how that goes” and, when Plaintiff said that

he was concerned about how he was being treated, commented further that “there are many

places to work in Denver” and questioned why Plaintiff had moved his family to Colorado for

this job.

        44.     On March 8, 2016, Plaintiff’s colleague with whom he had lunch on March 2

forwarded another text message that he received from Dr. Fiegel about Plaintiff in which Dr.

Fiegel commented that, “there’s now a spot on the APS for a Mexican. You interested?”

referring to Plaintiff as “a Mexican.”

        45.     On or around March 14, Plaintiff reported this inappropriate comment about his

national origin to CU’s Title IX Office and mentioned that he was aware of a prior occurrence of

race discrimination in the department, wherein a physician had left the department because of

discriminatory behavior.




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       46.     The Deputy Title IX Coordinator, Will Dewese, with whom Plaintiff spoke on

March 14, recommended that Plaintiff report his concerns to CU’s Human Resources

Department, which Plaintiff did on March 17.

       47.     Around this time, Plaintiff reiterated his interest in the medical director positions

at both the new facility in Broomfield and the existing Lone Tree Surgery Center but was told

that Chair Todorovic informed the hiring officials that Plaintiff was “absolutely not” a candidate

for either position despite the strong recommendations of a number of his colleagues that he be

considered for these positions.

       48.     On March 19, Chair Todorovic informed Plaintiff via email that she was

conducting an investigation into Plaintiff and had determined that he had said disparaging things

about the APS on March 2 and, furthermore, that Plaintiff was impulsive, unprofessional, and

demeaning.

       49.     Chair Todorovic provided neither examples to support her accusations nor the

specific accusations against Plaintiff that had served as the impetus for the investigation despite

Plaintiff’s repeated requests for the same.

       50.     On March 22, Plaintiff learned from an e-mail from Chair Todorovic that Dr.

Csaba Gadjos was refusing to work with Plaintiff without providing a justification accordingly.

       51.     Upon information and belief, Dr. Gadjos was encouraged to refuse to work with

Plaintiff because of Dr. Gadjos’s relationship with Drs. Fiegel and Weitzel.

       52.     Plaintiff was finally able to meet with Dr. Barry Rumack in CU’s Office of

Professionalism on March 23, an appointment that he had scheduled back on March 9.




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       53.       During Plaintiff’s meeting with Dr. Rumack, Plaintiff described the occurrences

of early March 2016, including Dr. Fiegel’s accusation that Plaintiff had been “talking shit”

about APS and Dr. Fiegel’s offensive comment about a spot opening up with the APS for “a

Mexican.”

       54.       Dr. Rumack acknowledged that these were “serious offenses” that CU cannot

tolerate and promised to investigate Plaintiff’s complaint.

       55.       In a subsequent meeting with Plaintiff, Dr. Rumack stated that he could only offer

to facilitate a mediation between Plaintiff and Chair Todorovic. Although Plaintiff appreciated

the offer, he expressed a sincere fear that he would be further retaliated against if he elected to

move forward with the mediation.

       56.       On April 4, Plaintiff reiterated to Dr. Rumack in an e-mail that Plaintiff had come

across information regarding prior race discrimination complaints within the Department of

Anesthesiology and that Plaintiff was anticipating further retaliation as a result of his complaints.

       57.       In the second or third week of April 2016, Plaintiff again contacted CU’s HR

Department by phone to express his concerns that:

            a.   he had not been considered for the medical director positions for either the

                 Broomfield or Lone Tree facilities despite having been strongly encouraged to

                 apply for these opportunities before he brought forward concerns about

                 discrimination and retaliation;

            b. the work environment had become exceedingly stressful and that he was being

                 targeted due to his race and complaints about discrimination and retaliation; and

            c. Chair Todorovic intended to terminate him.


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       58.     On May 3, Plaintiff met with Mr. Dewese and another employee from CU’s Title

IX Office, Karey Duarte, to discuss his concerns about discrimination; Mr. Dewese and Ms.

Duarte assured Plaintiff that they would continue their investigation.

       59.     On May 4, Plaintiff told Dr. Rumack, via e-mail, that the Title IX Office was

investigating his complaints and asked if he could meet again with Dr. Rumack to discuss his

concerns.

       60.     Although Dr. Rumack agreed initially to meet on May 11, he subsequently

cancelled the meeting and failed to reschedule it.

       61.     In April and/or May 2016, Chair Todorovic removed the medical director of the

Lone Tree Surgery Center and replaced him with Melanie Donnelly despite the strong

recommendation from Dr. Donnelly and other physicians that Plaintiff be appointed as the

medical director.

       62.     When Plaintiff met with Chair Todorovic on May 19 to inquire as to why he was

not considered for the medical director position at the Lone Tree Surgery Center, she dismissed

his inquiry – stating that the decision had already been made – and again asked Plaintiff what it

was that he actually did at CU.

       63.     During the May 19 meeting with Plaintiff, Chair Todorovic also told Plaintiff that

Dr. Gadjos had reported that Plaintiff was “hard to work with, difficult, and did not communicate

well,” all of which were false.

       64.     Chair Todorovic also brought up a complaint from a surgeon about a patient who

the surgeon and Plaintiff had treated together. The surgeon alleged that the patient complained

that she had experienced post-operative complications because of Plaintiff.


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       65.     To the contrary, when Plaintiff contacted the patient for follow-up, she thanked

him profusely for his work and vehemently denied that she had ever made a negative statement

about Plaintiff.

       66.     When Plaintiff told the patient that her purported negative statements about

Plaintiff were recorded in her medical chart, she became very upset and adamantly stated that the

records were falsified.

       67.     On May 18, Ms. Duarte told Plaintiff that she was going to present the findings

from her investigation of Plaintiff’s complaint to Chair Todorovic.

       68.     In response to Plaintiff’s concern that he would be subjected to additional

retaliation if Ms. Duarte provided the letter to Chair Todorovic, Ms. Duarte merely laughed.

       69.     Despite Plaintiff’s concerns, on May 24, Ms. Duarte produced the letter to Chair

Todorovic stating that, although the Title IX Office had found Dr. Fiegel’s conduct to be

unprofessional, it was not severe.

       70.     On May 31, Plaintiff was contacted by Chair Todorovic’s assistant to schedule a

meeting between Plaintiff and the Chair for June 2.

       71.     When Plaintiff arrived at the meeting on June 2, Carlos Fernandez, the

Department of Anesthesiology Business Manager, and Doug Kayson, the Director of HR, were

present along with Chair Todorovic.

       72.     Chair Todorovic asked Plaintiff if he knew why this meeting was being conducted

and he responded that he did not. When she asked Plaintiff if he was sure, Plaintiff said that the

meeting could be because he had been in contact with the HR department and Title IX office.




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       73.      In response, Chair Todorovic smirked and said, instead, that the meeting was

called because of a complaint that HR had received about Plaintiff from one of the senior

anesthesiology residents regarding an incident that occurred more than four months earlier in

January 2016.

       74.      According to Chair Todorovic, the resident reported that, in January 2016,

Plaintiff had asked the resident to look up a lewd reference on urbandictionary.com and that

Plaintiff had made the comment “all research is bullshit.”

       75.      Plaintiff vehemently denied making either statement and, in particular, repeatedly

asked why he would have said “all research is bullshit” given his extensive background as a

published researcher.

       76.      After the June 2 meeting with Chair Todorovic, Plaintiff recalled that he and the

resident who had allegedly complained had done an infraclavicular nerve block on a patient the

morning of January 24.

       77.      In speaking with the resident about the procedure, Plaintiff mentioned that he had

co-authored a published paper on the technique that is in ubiquitous use for this procedure, titled

“the Houdini Clavicle,” and recommended that the resident read the paper.

       78.      Plaintiff then mentioned in passing that the resident should be careful what

verbage he used to search for the paper online because Plaintiff had been told by a colleague that

the colleague had entered “the Houdini” into a search engine to find the paper and had received

an obscene result.




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         79.   On June 3, Chair Todorovic terminated Plaintiff effective June 30, 2016 and

placed him on administrative leave effective immediately allegedly for performance issues “in

the areas of interpersonal communication, proper record keeping and professionalism.”

         80.   Prior to his termination, Plaintiff had only ever received annual performance

ratings of “outstanding” and had never been placed on a performance improvement plan,

disciplined, or otherwise told that he was in danger of being terminated due to a performance

issue.

         81.   On June 25, 2016, Plaintiff’s colleague with whom he had lunch in Vail on March

2 called Plaintiff to say that the colleague had heard a rumor from staff at the Veteran’s Affairs

Hospital in Denver that Plaintiff had been terminated because he had dispensed pornography to

residents at CU.

         82.   Because CU is the only academic medical institution in Colorado, Plaintiff has

been unable to obtain equivalent employment as a professor and clinician.

         83.   CU’s discriminatory and retaliatory treatment of Plaintiff caused him significant

emotional distress, including sadness, weight loss, energy loss, and a decline in interest in

activities that previously brought him enjoyment.

         84.   On February 8, 2017, Plaintiff filed charge of discrimination number 541-2017-

01466 with the U.S. Equal Employment Opportunity Commission (“EEOC”) in which he alleged

that CU discriminated against him based on his race and national origin and retaliated against

him in violation of Title VII.




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        85.     On February 14, 2018, the Civil Rights Division of the U.S. Department of Justice

issued Plaintiff a notice of right to sue with respect to charge of discrimination number 541-

2017-01466.

                                       STATEMENT OF CLAIMS

                                   FIRST CLAIM FOR RELIEF
          (Race and National Origin Discrimination in violation of Title VII of the Civil Rights
                             Act of 1964, as amended, against Defendant)

        86.     The foregoing allegations are realleged and incorporated herein by reference.

        87.     CU subjected Plaintiff to different terms and conditions of his employment based

on race and national origin. This treatment included, but is not limited to: treating Plaintiff in a

condescending manner, including questioning the value that he brought to CU; investigating

Plaintiff without cause; failing to promote Plaintiff to the medical director position of either the

Lone Tree or Broomfield facility; crediting accusations made against Plaintiff that lacked basis;

accusing Plaintiff of lying, being unprofessional, and being difficult to work with; failing to

investigate or otherwise address Plaintiff’s complaints about race and national origin

discrimination; terminating him based on alleged performance issues that lacked basis; and

making untrue and disparaging statements about the reason for Plaintiff’s termination to others.

        88.     CU’s conduct discriminated against Plaintiff on the basis of his race and national

origin in violation of Title VII.

        89.     As a direct and proximate result of CU's actions, Plaintiff has suffered damages,

including lost wages and benefits, diminished reputation and other pecuniary losses, and

emotional pain and suffering, mental anguish, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses.


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                                SECOND CLAIM FOR RELIEF
        (Retaliation in violation of Title VII of the Civil Rights Act of 1964, as amended,
                                         against Defendant)

       90.     The foregoing allegations are realleged and incorporated herein by reference.

       91.     Plaintiff participated in statutorily protected activity by opposing practices

targeted at him that were unlawful under Title VII, including discrimination based on race and

national origin.

       92.     As a result of Plaintiff’s protected opposition to discrimination, CU retaliated

against him by subjecting him to the different terms and conditions of employment as described

in this Complaint, including, but not limited to: treating Plaintiff in a condescending manner,

including questioning the value that he brought to CU; investigating Plaintiff without cause;

failing to promote Plaintiff to the medical director position of either the Lone Tree or Broomfield

facility; crediting accusations made against Plaintiff that lacked basis; accusing Plaintiff of lying,

being unprofessional, and being difficult to work with; failing to investigate or otherwise address

Plaintiff’s complaints about race and national origin discrimination; terminating him based on

alleged performance issues that lacked basis; and making untrue and disparaging statements

about the reason for Plaintiff’s termination to others.

       93.     CU’s conduct violated 42 U.S.C. § 2000e-3(a) of Title VII.

       94.     As a direct and proximate result of CU’s actions, Plaintiff has suffered damages,

including lost wages and benefits, diminished reputation and other pecuniary losses, and

emotional pain and suffering, mental anguish, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses.




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       WHEREFORE, Plaintiff Jeffrey Gonzales respectfully requests that this Court enter

judgment in his favor and against Defendant CU and order the following relief as allowed by

law:

       A.      Compensatory damages, including but not limited to those for emotional distress,

inconvenience, mental anguish, and loss of enjoyment of life;

       B.      Back pay and benefits;

       C.      Injunctive and/or declaratory relief;

       D.      Reinstatement or front pay and benefits;

       E.      Attorney fees and costs of the action, including expert witness fees, as

appropriate;

       F.      Pre-judgment and post-judgment interest at the highest lawful rate; and

       G.      Such further relief as justice allows.

PLAINTIFF DEMANDS A JURY TRIAL ON ALL ISSUES SO TRIABLE.




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      Respectfully submitted May 15, 2018.


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                        CERTIFICATION OF GOOD STANDING

      I hereby certify that I am a member in good standing of the bar of this Court.



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